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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                               )
                                                         )   Chapter 11
    YELLOW CORPORATION, et al.,1                         )
                                                         )   Case No. 23-11069 (CTG)
                            Debtors.                     )
                                                         )   (Jointly Administered)
                                                         )
                                                         )   Objection Deadline: November 9, 2023 at 4:00 p.m.
                                                         )   Related Docket No. 968


                      OBJECTION AND RESERVATION OF RIGHTS
               TO THE DEBTORS’ NOTICE OF POTENTIAL ASSUMPTION OR
                ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS
             OR LEASES ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

             Estes Express Lines, Estes Terminals LLC, Commerce Road Terminals LLC, and G.I.

Trucking Company (together, “Estes”), by and through undersigned counsel, hereby file this

objection and reservation of rights (the “Objection”) to the Notice of Potential Assumption or

Assumption and Assignment of Certain Contracts or Leases Associated With the Non-Rolling Stock

Assets [Docket No. 968] (the “Notice of Assumption”) on the grounds that the Notice of

Assumption fails to cure all pre- and post-petition amounts owed to Estes pursuant to 11 U.S.C.

§§ 365(b)(1), 503(b)(1), and 365(d)(5). In support of its Objection, Estes respectfully states as

follows:

             1.    On August 6, 2023 (the “Petition Date”), each of the Debtors filed voluntary

petitions for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

These chapter 11 cases have been consolidated for procedural purposes only and are being jointly

administered pursuant to Bankruptcy Rule 1015(b). The Debtors are operating their businesses

and maintaining their assets as debtors in possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors'
proposed claims and noticing agent at https://dm.epiq11.com/case/yellowcorporation/info. The location of Debtors'
principal place of business and the Debtors' service address in these chapter 11 cases is: 11500 Outlook Street, Suite
400, Overland Park, Kansas 66211.
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         2.       Prior to the Petition Date, the Debtors and Estes entered into certain real property

leases (the “Leases”) for fourteen separate properties identified on Exhibit A hereto (the

“Properties”).2

         3.       As of the date of this Objection, the Debtors are in default under the Leases due to

their failure to make those certain rent, real estate tax, and late fee payments identified on Exhibit A

in the total amount of $682,614.32.

         4.       Additionally, the Leases require the Debtors to perform various maintenance

obligations with respect to the Properties. As a representative example, Section 6 of the lease

dated June 26, 2009 between Estes and YRC, Inc. for real property located at 11010 Reames Road,

Charlotte, North Carolina requires that “Lessee shall at its own expense make all necessary repairs,

replacements and maintenance to the leased premises.”

         5.       Based upon recent inspections of the Properties by Estes, the Debtors have failed

to fulfill myriad maintenance and repair obligations that Estes estimates will cost in excess of $27

million to remedy. Among many other issues, the inspection reports show significant damage to

several of the Properties’ roofs. At the Property located in Kearny, New Jersey, Estes’ inspectors

discovered failed and separated roof flashing, roof membranes unadhering from the building

structure, and a broken roof drain that are permitting water to enter the building. Of the eight roof

sections at the Kearny property, seven sections received an inspection grade of “F” and the eighth

section received a “C.” An “F” grade means that the system requires “immediate replacement.”

Estes’ inspector estimates that the roof replacement alone will cost approximately $750,000.00.

See Exhibit C.




2
  Copies of the Leases are in the Debtors’ possession and thus are not attached hereto. Estes will provide copies of
the Leases to the Committee, Office of the United States Trustee, and other appropriate parties in interest upon request.
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        6.     Additionally, Estes discovered severe damage to many of the Properties’ asphalt

parking areas. A representative photograph of the damaged parking area at the Property located

in Joliet, Illinois, is attached as Exhibit D. The cost of repairing these parking areas will be

significant. Estes estimates that the cost of repairing the damage to the asphalt in Joliet will cost

nearly $3 million. See Exhibit E-1. The Property located in South Bend, Indiana similarly will

require approximately $2.9 million in repairs to its parking surfaces. See Exhibit E-3. Parking

areas at several other properties also require maintenance that will cost in excess of $1 million

each.

        7.     Among the worst of the Properties is the Debtors’ Charlotte, North Carolina

location, where Estes’ inspectors reported rusting metal structures, cracked concrete floors and

loading dock aprons, damaged asphalt paving, and major interior damage and deterioration that

the inspectors estimate will cost approximately $9.9 million to fix. See Exhibit E-6.

        8.     In all, Estes estimates that the cost of fulfilling the Debtors’ contractual obligations

to repair the Properties as required by the Leases totals no less than $27,277,885.67. A breakdown

of this total repair cost by individual property is included in Exhibit A, and an itemized repair

estimate and roof inspection report cost summary for each of the Properties is attached hereto as

Exhibits E-1 to E-14.

        9.     Accordingly, when the cost of repairing the Properties is added to the Debtors’

other payment defaults, Estes asserts that the amount necessary to cure all defaults under the Leases

totals no less than $27,960,499.99, listed by property as follows:

             Lessor                      Debtor             Property       State     Total Cure Cost
                                                              City
Estes Terminals LLC               USF Holland LLC         Joliet         IL             $3,813,903.21
Estes Terminals LLC               USF Holland LLC         Rockford       IL             $2,536,208.98
Commerce Road Terminals LLC       USF Holland LLC         South Bend     IN             $3,105,370.49
Commerce Road Terminals LLC       YRC Inc.                Wichita        KS               $269,630.87
Estes Express Lines               USF Holland LLC         Coon Rapids    MN               $482,130.70
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Estes Express Lines              YRC Inc.              Charlotte      NC            $9,900,108.05
Commerce Road Terminals LLC      YRC Inc.              Durham         NC               $72,127.44
Estes Express Lines              YRC Inc.              Kearny         NJ            $1,966,403.56
Estes Terminals LLC              YRC Inc.              Sparks         NV              $614,087.15
Commerce Road Terminals LLC      USF Reddaway Inc.     Eugene         OR              $709,306.38
Commerce Road Terminals LLC      USF Reddaway Inc.     Redmond        OR              $105,822.03
Estes Express Lines              USF Reddaway Inc.     Tacoma         WA              $577,544.73
Estes Express Lines              USF Holland LLC       Milwaukee      WI            $2,589,690.71
Estes Express Lines              USF Holland LLC       Tomah          WI            $1,218,165.69
                                                                      Totals:      $27,960,499.99



       10.     On October 26, 2023, the Debtors filed the Notice of Assumption identifying those

executory contracts and unexpired leases that may be assumed by the Debtors and assigned to

third-parties pursuant to Section 365 of the Bankruptcy Code and the amounts that the Debtors

assert must be paid to cure any defaults under each of the Leases (the “Cure Costs”). The Notice

of Assumption lists Cure Costs with respect to Estes’ Leases in the aggregate amount of

$652,284.00.   A breakdown of the Cure Costs by individual property is attached as Exhibit B.

       11.     Further, Estes recently learned that the Debtors have subleased certain of the

Properties in violation of the terms of the applicable Leases. Based upon information made

available to Estes, it appears that the Debtors entered into three separate month-to-month parking

subleases for the Property located in Tacoma, Washington with Castle Tire Disposal LLC, Mitchell

Bros. Trucking, and Hermann Brothers Logging & Construction (the “Tacoma Subleases”). It

also appears that the Debtors entered into a parking sublease for the Property located in Kearny,

New Jersey with Port Kearny Security (the “Kearney Sublease,” and with the Tacoma Subleases,

the “Subleases”). A summary of the Subleases is below:




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        Type
         of        AP
        Lease     Code    Income     Term    Name       City    State           Lessee
                                                                        Castle Tire Disposal
        Parking R880       $936.00 MTM Tacoma Tacoma WA                 LLC
                                                                        Mitchell Bros.
        Parking R880      $4,900.00 MTM Tacoma Tacoma WA                Trucking
                                                                        Hermann Brothers
                                                                        Logging &
        Parking R880      $2,127.15 MTM Tacoma Tacoma WA                Construction

        Parking Y111 $32,955.00 MTM Kearny             Kearny NJ        Port Kearny Security


        12.      Section 10 of the Lease Agreement for the Tacoma, Washington Property states:

        Except as provided in this Section, this lease shall not be assigned, mortgaged,
        pledged, encumbered or in any other manner transferred by the Lessee, voluntarily
        or involuntarily, by operation of law, merger or otherwise, nor shall the leased
        premises or any part thereof be sublet, licensed, granted to a concessionaire or used
        or occupied by anyone other than Lessee without the prior written consent of Lessor
        which consent shall not be unreasonably withheld (except that if [Estes affiliate] G.
        I. Trucking Company is still the Lessor, such consent may be withheld or
        conditioned by Lessor in its sole discretion).

Section 10 of the Lease Agreement for the Kearney, New Jersey Property contains the same lease

term.

        13.      Estes was not informed of the Subleases and did not consent to such Subleases as

required by the applicable Leases. The Subleases therefore constitute defaults under Section 10

of the respective Leases for the Tacoma and Kearny Properties.

                                            OBJECTION

   I.         The Debtors’ proposed Cure Costs fail to cure all monetary defaults under the
              Leases.

        14.      The Leases cannot be assumed unless the Debtors cure all defaults under such

Leases, including the Debtors’ unperformed maintenance obligations. Section 365(b)(1)(A) of the

Bankruptcy Code requires that a debtor must either “cure” existing defaults under the agreement




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or provide “adequate assurance” that it will “promptly cure” existing defaults as a condition to the

assumption of an executory contract or unexpired lease. See 11 U.S.C. § 365(b)(1)(A).

          15.      “Cure is a critical component of assumption.” In re Thane International, Inc., 586

B.R. 540, 549 (Bankr. D. Del. 2018). “The language and intent behind § 365 is decisive… [and it]

was clearly intended to insure that the contracting parties receive the full benefit of their bargain

if they are forced to continue performance.” Id.; citing In re Superior Toy & Mfg. Co., Inc., 78

F.3d 1169, 1174 (7th Cir. 1996). “If the trustee is to assume a contract or lease, the court will have

to ensure that the trustee’s performance under the contract or lease gives the other contracting party

the full benefit of his bargain.” Id. (citation to legislative history omitted). “[T]he term ‘full benefit

of his bargain’ refers to ‘the full amount due’ under the contract or lease in question, as opposed

to liabilities solely for future performance.” Id.

          16.      Here, the Cure Costs proposed by the Debtors radically understate the amounts

necessary to cure all defaults under the Leases. Specifically, the Cure Costs fail to include any

amounts whatsoever due on account of the Debtors’ unperformed maintenance and repair

obligations, which obligations total $27,277,885.67 alone, or the late fees owed to Estes in the

aggregate amount of $30,329.89. The amount necessary to cure all known defaults under the

Leases totals no less than $27,960,499.99. The Debtors may not assume and assign the Leases

unless and until the full cure amount owed under such Lease is paid.

    II.         The Leases for the Tacoma, Washington and Kearny, New Jersey Properties may
                not be assumed and assigned until all unauthorized subleases are terminated.

          17.      The Debtors are in default under the Leases for the Tacoma, Washington and

Kearny, New Jersey Properties due to the unauthorized Subleases.                The applicable Leases

unequivocally require Estes’ written consent prior to the leased Properties being “sublet, licensed,

granted to a concessionaire, or used or occupied by anyone other than Lessee”. The Debtors did

not obtain Estes’ consent before entering into the Subleases. The Subleases therefore constitute
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defaults that must be cured, i.e. terminated, pursuant to Section 365(b)(1)(A) of the Bankruptcy

Code in order for these Leases to be assumed and assigned to any party.

          18.      To the extent that any other Properties also have been subleased or licensed or are

otherwise being used or occupied by any party other than the Debtors in violation of the Leases

pursuant to arrangements that Estes is not yet aware of, such additional defaults also must be cured

and any such arrangements terminated prior to the assumption and assignment of any affected

Leases.

   III.         The prevailing bidder for the Leases must provide Estes with adequate assurance
                of its future performance under the Leases.

          19.      Estes reserves all rights to file a supplemental objection upon the selection of the

winning bidder for the Leases on the grounds that any assumption and assignment of the Leases

must be conditioned on Estes receiving adequate assurance of future performance by the prevailing

bidder.

          20.      Section 365(f)(2)(B) of the Bankruptcy Code states that a debtor may assign an

executory contract or unexpired lease only where adequate assurance of future performance by the

assignee of such contract or lease is provided, whether or not there has been a default in such

contract or lease. 11 U.S.C. § 365(f)(2)(B). “The statutory requirement of ‘adequate assurance of

future performance by the assignee’ affords ‘needed protection to the non-debtor party because the

assignment relieves the trustee and the bankruptcy estate from liability for breaches arising after

the assignment.’” In re Fleming Cos., 499 F.3d 300, 305 (3d Cir. 2007) (citing Cinicola v.

Scharffenberger, 248 F.3d 110, 120 (3d Cir. 2001)).

          21.      The identity of the proposed assignee of the Leases will not be known until the

conclusion of the auction or the Debtors’ real property and leased assets. Accordingly, to date

Estes has not been provided with any information regarding potential purchasers’ adequate

assurance of future performance under the Leases, particularly with respect to such potential
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purchasers’ obligations to make the substantial repairs to the Properties discussed in Section I of

this Objection. Estes therefore reserves all rights to assert a supplemental objection to the

assumption and assignment of the Leases unless and until it is provided with information sufficient

to satisfy the requirements of adequate assurance in accordance with section 365(b) of the

Bankruptcy Code.

                                    RESERVATION OF RIGHTS

       22.       Nothing in this Objection is intended to be, or should be construed as, a waiver by

Estes of any of its rights under the Leases, the Bankruptcy Code, or applicable law. Estes expressly

reserves all such rights, including, without limitation, the right to: (a) supplement and/or amend

the Objection and to assert any additional objections; (b) raise any and all additional obligations

under the Leases that may arise in the ordinary course of business; (c) assert any rights for

indemnification or contribution arising under the Leases; and (d) assert any further objections as

it deems necessary or appropriate, including, but not limited to, the right to assert the failure of

any prevailing bidder to provide adequate assurance of future performance.

       WHEREFORE, for the foregoing reasons, Estes respectfully requests that any order

entered by this Court authorizing the assumption of the Leases be consistent with this Objection,

require the payment of Cure Costs in the proper amount of no less than $27,960,499.99, and grant

to Estes such other and further relief as the Court deems just and appropriate under the

circumstances.

Dated: November 3, 2023                           /s/ Richard W. Riley
       Wilmington, Delaware                       Richard W. Riley (No. 4052)
                                                  WHITEFORD, TAYLOR & PRESTON LLC3
                                                  600 North King Street, Suite 300
                                                  Wilmington, Delaware 19801
                                                  Telephone: (302) 353-4144
                                                  Email: rriley@whitefordlaw.com

3
       Whiteford, Taylor & Preston LLC operates as Whiteford Taylor & Preston L.L.P. in jurisdictions outside of
       Delaware.
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                        LLC, Commerce Road Terminals LLC, and G.I.
                        Trucking Company




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                                                                            EXHIBIT A

                                                                          Estes Cure Costs

        Lessor                 Debtor             Property       State       Estimated        August         August        August       R.E. Tax      Total Cure Cost
                                                    City                      Repairs        2023 Rent      2023 R.E.     2023 Late     True Up
                                                                                                              Tax            Fee
Estes Terminals LLC      USF Holland LLC        Joliet         IL           $3,732,784.00    $64,139.14     $14,998.33     $3,956.87    -$1,975.13          $3,813,903.21
Estes Terminals LLC      USF Holland LLC        Rockford       IL           $2,493,533.00    $33,345.02      $5,830.15     $1,958.76     $1,542.05          $2,536,208.98
Commerce Road            USF Holland LLC        South Bend     IN           $3,023,658.95    $41,232.31     $12,421.09     $2,682.67    $25,375.47          $3,105,370.49
Terminals LLC
Commerce Road            YRC Inc.               Wichita        KS            $255,292.00     $10,777.69      $2,878.38       $682.80                         $269,630.87
Terminals LLC
Estes Express Lines      USF Holland LLC        Coon           MN            $424,986.00     $42,173.56     $11,988.71     $2,708.11       $274.32           $482,130.70
                                                Rapids
Estes Express Lines      YRC Inc.               Charlotte      NC           $9,831,752.00    $58,105.79      $6,995.21     $3,255.05                        $9,900,108.05
Commerce Road            YRC Inc.               Durham         NC             $58,706.00     $10,500.00      $1,160.42       $583.02     $1,178.00            $72,127.44
Terminals LLC
Estes Express Lines      YRC Inc.               Kearny         NJ           $1,869,267.36    $70,653.99     $19,908.57     $4,528.13     $2,045.51          $1,966,403.56
Estes Terminals LLC      YRC Inc.               Sparks         NV            $557,391.00     $46,859.51      $3,718.35     $2,528.89     $3,589.40           $614,087.15
Commerce Road            USF Reddaway Inc.      Eugene         OR            $694,903.00     $11,714.89      $2,002.61       $685.88                         $709,306.38
Terminals LLC
Commerce Road            USF Reddaway Inc.      Redmond        OR             $97,113.00      $6,962.08      $1,332.23       $414.72                         $105,822.03
Terminals LLC
G.I. Trucking            USF Reddaway Inc.      Tacoma         WA            $496,289.00     $52,482.66     $11,897.05     $3,218.99    $13,657.03           $577,544.73
Company4
Estes Express Lines      USF Holland LLC        Milwaukee      WI           $2,536,540.36    $40,316.05     $10,303.33     $2,530.97                        $2,589,690.71
Estes Express Lines      USF Holland LLC        Tomah          WI           $1,205,670.00    $10,211.05      $1,689.61       $595.03                        $1,218,165.69
                                                               Totals:     $27,277,885.67   $499,473.74    $107,124.04    $30,329.89    $45,686.65      $27,960,499.99




    4
     The Notice of Assumption incorrectly lists the lessor of the Tacoma, Washington property as Estes Express Lines. The correct lessor is G.I. Trucking
    Company.

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                                                     EXHIBIT B

                                            Debtors’ Proposed Cure Costs

            Lessor                 Debtor            Description of Lease              Property Address          Proposed
                                                                                                                Cure Amount
Estes Terminals LLC           USF Holland LLC   Real Property Lease - Terminal   3801 Mound Road                     $77,162
3901 West Broad Street                                                           Joliet, IL 60436
Richmond, VA 23230

Estes Terminals LLC           USF Holland LLC   Real Property Lease - Terminal   1751 New Milford School Road        $40,717
3901 West Broad Street                                                           Rockford, IL 61109
Richmond, VA 23230

Commerce Road Terminals LLC   USF Holland LLC   Real Property Lease - Terminal   5550 W Cleveland Road Ext           $79,029
3901 West Broad Street                                                           South Bend, IN 46628
Richmond, VA 23230

Commerce Road Terminals LLC   YRC Inc.          Real Property Lease - Terminal   4931 South Hydraulic Avenue         $13,656
3901 West Broad Street                                                           Wichita, KS 67216
Richmond, VA 23230

Estes Express Lines           USF Holland LLC   Real Property Lease - Terminal   11220 Xeon Street NW                $54,437
3901 West Broad Street                                                           Coon Rapids, MN 55448
Richmond, VA 23230

Estes Express Lines           YRC Inc.          Real Property Lease - Terminal   11010 Reames Road                   $65,101
3901 West Broad Street                                                           Charlotte, NC 28269
Richmond, VA 23230

Commerce Road Terminals LLC   YRC Inc.          Real Property Lease - Terminal   3215 US Highway 70                  $12,838
3901 West Broad Street                                                           Durham, NC 27703
Richmond, VA 23230

Estes Express Lines           YRC Inc.          Real Property Lease - Terminal   72 Second Street                    $92,608
3901 West Broad Street                                                           Kearny, NJ 07032
Richmond, VA 23230




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      Estes Terminals LLC                 YRC Inc.                Real Property Lease - Terminal     1650 Kleppe Lane                           $54,167
      3901 W Broad Street                                                                            Sparks, NV 89431-6430
      Richmond, VA 23230

      Commerce Road Terminals LLC         USF Reddaway Inc.       Real Property Lease - Terminal     1701 SW First Street                         $8,294
      3901 W Broad Street                                                                            Redmond, OR 97756
      Richmond, VA 23230

      Commerce Road Terminals LLC         USF Reddaway Inc.       Real Property Lease - Terminal     3500 W First Street                        $13,718
      3901 W Broad Street                                                                            Eugene, OR 97402
      Richmond, VA 23230

      Estes Express Lines5                USF Reddaway Inc.       Real Property Lease - Terminal     802 E 11th Street                          $78,037
      3901 West Broad Street                                                                         Tacoma, WA 98421
      Richmond, VA 23230

      Estes Express Lines                 USF Holland LLC         Real Property Lease - Terminal     6161 South 6th Street                      $50,619
      3901 West Broad Street                                                                         Milwaukee, WI 53211
      Richmond, VA 23230

      Estes Express Lines                 USF Holland LLC         Real Property Lease - Terminal     400 Holland Street                         $11,901
      3901 West Broad Street                                                                         Tomah, WI 54660
      Richmond, VA 23230

                                                                                                     Total Cure:                               $652,284




5
 The Notice of Assumption incorrectly lists the lessor of the Tacoma, Washington property as Estes Express Lines. The correct lessor is G.I. Trucking
Company.

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